Case 1:17-cv-01485-LPS-CJB Document 15 Filed 01/10/18 Page 1 of 3 PageID #: 337



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

IRON OAK TECHNOLOGIES, LLC,
                                                CIVIL ACTION NO. 1:17-cv-1485-LPS-CJB
                             Plaintiff,
               v.                               JURY

SIERRA WIRELESS, INC.,
and SIERRA WIRELESS AMERICA, INC.

                             Defendants.


   STIPULATION AND ORDER OF VOLUNTARY DISMISSAL WITH PREJUDICE

       PLEASE TAKE NOTICE that, counsel for Plaintiff Iron Oak Technologies, LLC and

counsel for Defendants Sierra Wireless, Inc. and Sierra Wireless America, Inc. have conferred,

and have agreed to a voluntary dismissal of the action with prejudice. Parties to pay their own

costs and attorneys’ fees.



                                                   Respectfully submitted,

Dated: January 10, 2018                              PINCKNEY, WEIDINGER, URBAN
                                                     & JOYCE LLC

                                                      /s/ Helena C. Rychlicki
Robert J. McAughan, Jr.                              Elizabeth Wilburn Joyce (DE No. 3666)
TX State Bar No. 00786096                            Helena C. Rychlicki (DE No. 3996)
bmcaughan@smd-iplaw.com                              3711 Kennett Pike, Suite 210
Albert B. Deaver, Jr.                                Greenville, DE 19807
TX Bar No. 05703800                                  (302) 504-1497 (telephone)
adeaver@smd-iplaw.com                                (302) 655-5123 (facsimile)
SUTTON MCAUGHAN DEAVER PLLC                          ewilburnjoyce@pwujlaw.com
Three Riverway, Suite 900                            hrychlicki@pwujlaw.com
Houston, TX 77056
(713) 800-5700 (T)
(713) 800-5699 (F)                                   Attorneys for Plaintiff
                                                     Iron Oak Technologies, LLC
Case 1:17-cv-01485-LPS-CJB Document 15 Filed 01/10/18 Page 2 of 3 PageID #: 338



IT IS SO ORDERED, this _____ day of January, 2018.


                                        ____________________________________
                                              District Court Judge
Case 1:17-cv-01485-LPS-CJB Document 15 Filed 01/10/18 Page 3 of 3 PageID #: 339



                               CERTIFICATE OF SERVICE

       I hereby certify that, on the 10th day of January 2018, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing to all counsel of record.

        I further hereby certify that, on the 10th day of January 2018, a true and correct copy of
the foregoing filing was sent via electronic mail, to:

       Amanda Tessar, Esq.
       Perkins Coie LLP
       1900 Sixteenth Street, Suite 1400
       Denver, CO 80202-5255
       ATessar@perkinscoie.com

       Attorneys for Defendants
       Sierra Wireless, Inc. and
       Sierra Wireless America, Inc.


                                                             /s/ Helena C. Rychlicki
                                                             Helena C. Rychlicki (DE No. 3996)
